Case 1:21-cv-22770-JEM Document 24 Entered on FLSD Docket 01/07/2022 Page 1 of 1




                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                      Case Number: 21-22770-CIV-MARTINEZ-BECERRA.

  MATTHEW ESTEVEZ, individually
  and on behalf of all others similarly situated,              CLASS ACTION

         Plaintiff,

  vs.

  DISTRESSED SOLUTIONS, LLC,                                   JURY TRIAL DEMANDED
  a Delaware Limited Liability Corporation,

        Defendants.
  ___________________________________________/


                                    JOINT NOTICE OF SETTLEMENT

         The Parties, by and through their undersigned counsel, hereby give notice that they have

  reached a settlement with respect to Plaintiff’s claim.

         Plaintiff and Defendant anticipate filing a Stipulation of Dismissal within thirty (30) days.

  Dated: January 7, 2022

  Respectfully Submitted,


    /s/ Ignacio J Hiraldo                             By: /s/ James A. Peterson
    IJH Law                                           James A. Peterson, Esq.
    Ignacio J. Hiraldo, Esq.                          Florida Bar No. 645621
    FL Bar No. 56031                                  PETERSON LEGAL P.A.
    Washington D.C. Bar No. 485610                    401 East Las Olas Boulevard
    1200 Brickell Ave. Ste. 1950                      Suite 130-550
    Miami, FL 33131                                   Fort Lauderdale, Florida 33301
    t. 786.496.4469                                   (754) 444-8076
    e. ijhiraldo@ijhlaw.com                           James@PetersonLegal.com

    Counsel for Plaintiff                             Attorney for Defendant
